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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                    Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.




             MR. FLYNN’S MOTION TO CONTINUE BRIEFING DEADLINES

         On January 14, 2020, Mr. Flynn moved this Court for leave to withdraw his guilty plea and

to continue his sentencing. In its minute order today, the Court also set a briefing schedule on Mr.

Flynn’s motion to withdraw his guilty plea. So as to make sure that the parties have sufficient time

to brief the substantive issues involved in Mr. Flynn’s forthcoming Supplemental Motion to

Withdraw for alternative additional reasons, Mr. Flynn moves the Court to adjust that briefing

schedule as follows:

         (1) Mr. Flynn’s Supplemental Motion to Withdraw for alternative additional reasons to be

         due by 5:00 pm on January 24, 2020;

         (2) the government’s response to Mr. Flynn’s motion and supplemental motion to be due

         by 5:00 pm on February 7, 2020; and

         (3) Mr. Flynn’s reply to be due by February 17, 2020.

         Counsel for Mr. Flynn is working diligently every day (and nearly around the clock) to

make sure that the substantive and important issues in the Supplemental Motion to Withdraw

Guilty Plea are fully briefed. That motion is based largely upon the voluminous set of documents



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produced to current counsel by former counsel. Moreover, Mr. Flynn’s Supplemental Brief in Aid

of Sentencing is due on January 22, 2020, which will require a substantial amount of time to

prepare. To ensure that the brief completely explains the motion’s factual and legal basis, Mr.

Flynn seeks two additional days to submit the motion.


       Dated: January 16, 2020

                                             Respectfully submitted,

                                             /s/ Sidney Powell
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                             CERTIFICATE OF CONFERENCE

       Counsel contacted the government by email on January 16, 2020 regarding the relief

requested in this motion. The government defers to the Court on the defendant’s requested

adjustments to the briefing schedule for the motions to withdraw his guilty plea.




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on January 16, 2020, a true and genuine copy of Mr. Flynn’s Motion

to Continue Briefing Schedule was served via electronic mail by the Court’s CM/ECF system to

all counsel of record, including:

       Jessie K. Liu, U.S. Attorney for the District of Columbia
       Brandon L. Van Grack, Special Assistant U.S. Attorney
       Jocelyn Ballantine, Assistant U.S. Attorney
       555 4th Street, NW
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                                                    Respectfully submitted,


                                                    /s/ Jesse R. Binnall
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